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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


  JUDY JIEN, et al.,
                                                           CIVIL ACTION NO. 1:19-CV-2521-SAG
                  Plaintiffs,

  v.

  PERDUE FARMS, INC., et al.,

                  Defendants.                             REDACTED


  MOUNTAIRE FARMS INC.’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS
          THE THIRD AMENDED CONSOLIDATED COMPLAINT

       Plaintiffs make only two substantive allegations against Mountaire Farms Inc.

(“Mountaire”) in the Third Amended Consolidated Complaint (“TACC”): first, that it

participated in a single Weber Meng Sahl & Co. (“WMS”) poultry industry compensation survey

and attendant meeting over the course of a purported twenty-year conspiracy otherwise alleged

to involve regular meetings, direct communications, and other (non-WMS) industry-sponsored

surveys; and, second, that Mountaire later refused to participate in the WMS survey. Setting

aside the valid and varied defenses as to why Plaintiffs’ latest agglomeration of allegations

against all Defendants fail, these allegations do not plausibly tie Mountaire to the supposed

antitrust conspiracy, and the Court should dismiss the TACC as to Mountaire.

       Plaintiffs resort to sleight of hand in their Opposition brief,




                                                      Plaintiffs even mischaracterize this Court’s

prior decisions to misleadingly suggest support for their arguments. These and other efforts to



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distract from the TACC’s wafer-thin allegations against Mountaire end up underscoring its

inadequacy, and that the TACC should be dismissed as to Mountaire.

       I.      Plaintiffs fail to plausibly allege that Mountaire joined the alleged conspiracy
               spanning twenty years based on its attendance at one meeting in 2011.

       With each amendment, Plaintiffs have further narrowed their allegations against

Mountaire. Their per se wage-fixing claim now rests entirely on the allegation that Mountaire

participated in the WMS survey and attendant meeting in a single year in the middle of the

alleged twenty-year conspiracy period. See TACC ¶ 56. The only other allegations about

Mountaire that Plaintiffs point to in their Opposition are allegations about Mountaire declining to

participate in exchanges of compensation information—allegations that in no way plausibly

suggest participation in a conspiracy. ECF No. 660 (hereinafter “Opp. Br.”) at 13 (Mountaire

declined to participate in WMS survey in 2018), 16 (



            ). The question before the Court, then, is whether the allegation of participation in

the WMS survey and meeting in a single year is sufficient to plausibly allege that Mountaire

joined the supposed twenty year conspiracy to depress compensation. The answer is no.

       The Court’s prior opinions support Mountaire’s arguments in favor of dismissal. Both of

the Court’s prior opinions denying motions to dismiss focus on allegations linking Defendants to

multiple WMS meetings—not a single meeting. ECF No. 378 at 14. Plaintiffs nonetheless argue

that “this Court has explicitly held that allegations of attendance at a lone Poultry Industry

Compensation Meeting during the Class Period was sufficient to link a particular defendant to

the per se claim.” Opp. Br. at 14. Plaintiffs also cite this Court’s opinion denying Butterball and

Fieldale’s motions to dismiss the First Amended Consolidated Complaint (“FACC”). But the

FACC, filed in 2019, only identified the attendees at the 2017 WMS meeting by way of



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“example” to link them to the WMS meetings more generally. FACC ¶ 153. In contrast,

Plaintiffs now have identified the alleged attendees at every WMS meeting from 2001 to 2019,

including an allegation that Fieldale attended every WMS meeting from 2001-2019 and that

Butterball “regularly attended” the WMS meetings. TACC ¶¶ 62, 85. In stark contrast, the

TACC alleges Mountaire attended only one WMS meeting. Id. ¶ 56. Application of this Court’s

prior opinions, relying on allegations of participation in multiple WMS meetings, thus supports

dismissal of Mountaire from the TACC. ECF No. 378 at 14 (“Plaintiffs must link each specific

Defendant to the secret meetings in order to state a claim.” (emphasis added)); ECF No. 414 at 9

(“[T]he SAC includes a specific allegation that Mountaire attended at least some of the secret

compensation meetings[.]” (emphasis added)).

       The cases cited by Plaintiffs in support of their argument are readily distinguishable from

the allegations in the TACC. In both SD3, LLC v. Black & Decker (U.S.) Inc. and Precision

Associates v. Panalpina World Transport (Holding) Ltd., the defendants were alleged to attend

the singular meeting at which the conspiracy was formed. 801 F.3d 412, 430 (4th Cir. 2015)

(finding plaintiff “identifie[d] the particular time, place, and manner in which the boycott

initially formed, describing a separate meeting held for that purpose”); No. 08-cv-42, 2015 U.S.

Dist. LEXIS 194073, at *62 (E.D.N.Y. June 24, 2015) (granting motion to dismiss but finding

defendant’s representative “attended a meeting . . . at which the attendees ‘agreed to implement a

NES fee on their customers’”). As now alleged, the conspiracy was formed at WMS meetings

held as early as 2001, as to which there is no allegation Mountaire attended. There were nearly

two dozen annual WMS meetings overall, but Mountaire is only alleged to have attended a single

one. These cases also include allegations that the defendant(s) who attended the single meeting

actually implemented the anti-competitive conduct agreed upon at the meeting. SD3, 801 F.3d at




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430 (“[T]he complaint then explains how the manufacturers implemented the boycott.”);

Precision Assocs., 2015 U.S. Dist. LEXIS 194073, at *63 (“The CTAC also alleges that the NES

Defendants . . . imposed the agreed-upon NES fee.”). 1 Here, there is no allegation Mountaire

changed its compensation in any way after attending the 2011 WMS meeting.

         Nor do these other cases include allegations of a defendant, like Mountaire, refusing to

engage in the allegedly conspiratorial conduct. Beyond participation in the WMS survey and

meeting in 2011, the only other allegations that Plaintiffs point to in their Opposition concern

Mountaire declining to participate in exchanges of compensation information. TACC ¶ 320.

Plaintiffs characterize their allegation as one that Mountaire “halted its participation” in the

WMS survey in 2018. Opp. Br. at 13. The actual allegation instead shows that Mountaire chose

not to participate in the WMS survey in 2018, seven years after its alleged survey participation in

2011. TACC ¶ 320; see also id. ¶ 56.



                                                                           .




1
    In Miami Products & Chemical Co. v. Olin Corp., the court found the complaint did “not
    merely allege that Defendants were part of a conspiracy because they were members of trade
    associations, but rather alleges that the timing of the trade association meetings often coincided
    with the announcement of price increases by Defendants, thus suggesting a plausible inference
    that the trade association meetings allowed Defendants to coordinate the price increases.” 449
    F. Supp. 3d 136, 164 (W.D.N.Y. 2020).



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         In addition to this sleight of hand, by responding to Mountaire and Jennie-O Turkey

Store, Inc.’s (“Jennie-O’s”) separately filed motions to dismiss in one brief, Plaintiffs attempt to

blur the distinctions between the two motions and attribute Jennie-O’s purported conduct to

Mountaire by association. This effort however does nothing to bolster the threadbare allegations

against Mountaire. By way of example, Plaintiffs misleadingly group the two Defendants when

they argue that the “TAC has added exceptional new details regarding . . . direct exchanges of

compensation data between Jennie-O, Mountaire, and other Defendant Processors.” Opp. Br. at

11. As to Mountaire, there is not a single new detail regarding direct exchanges of

compensation, and indeed the only “exceptional” aspects of the TACC are how little Plaintiffs

even try to connect Mountaire to the alleged sprawling conspiracy they now put forward.

         II.     Plaintiffs fail to plausibly allege a rule-of-reason information sharing
                 claim against Mountaire based on a subscription to Agri Stats.

         Plaintiffs’ sole allegation against Mountaire supporting their rule-of-reason information

exchange claim is that Mountaire subscribed to an industry benchmarking publication, Agri

Stats. That allegation falls far short of plausibly alleging participation in a twenty-year

conspiracy to exchange wage information.




2

                                                                                       But
    “‘opportunity to conspire’ without a showing of actual conspiracy is insufficient[.]” Hall v.
    United Air Lines, Inc., 296 F. Supp. 2d 652, 664 n.12 (E.D.N.C. 2003); see also In re Delta,
    245 F. Supp. 3d 1343, 1374 (N.D. Ga. 2017) (“[A]n invitation to collude is not a plus
    factor[.]”).



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         In response, Plaintiffs once again grossly misstate their own TACC. Although they

boldly state that the TACC identifies additional, “non-WMS” compensation information

exchanges with Defendants in which Mountaire participated, Opp. Br. at 2, Plaintiffs provide no

citation to their complaint, and indeed they cannot. There simply is no allegation that Mountaire

directly exchanged compensation data with any other Defendant Processor. In fact, Plaintiffs do

not even contend that subscribing to Agri Stats is adequate to allege a conspiracy of any sort.

Instead, they contend only the lesser point that Defendants “monitored the conspiracy through

monthly subscriptions to Agri Stats.” Opp. Br. at 17 (emphasis added). Because Plaintiffs have

not plausibly alleged that Mountaire joined that conspiracy, supra, it follows that Mountaire

cannot have used Agri Stats to monitor compliance with it.

         Nor are Plaintiffs correct that “this Court has already concluded that there is ‘little

debate’ that Plaintiffs sufficiently alleged this rule of reason claim against Mountaire, Jennie-O,

and each of the other Defendant Processors.” Opp. Br. at 2 (citing ECF No. 378 at 20).             Rather

than holding that Plaintiffs had sufficiently alleged a rule-of-reason claim against Mountaire, the

Court dismissed the rule-of-reason claim against Mountaire without prejudice. ECF No. 378 at

10 (“Counts I [wage fixing] and II [information sharing] will be dismissed without prejudice [as

to Mountaire.]”).3



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    Plaintiffs also argue that “the Court found that participation in Agri Stats alone provides a
    sufficient basis to allege a viable rule of reason claim.” Opp. Br. at 19. This too is wrong.
    The Court found Plaintiffs had stated a rule of reason information sharing claim against Agri
    Stats itself, the entity that collected and disseminated the compensation information—not
    against any Defendant Processor on the basis of merely subscribing to Agri Stats. See id.
    (quoting ECF No. 378 at 27 (“By providing comprehensive, real-time, and current wage data
    to nearly the entire poultry processing industry, Agri Stats’s conduct can plausibly be alleged
    to constitute unlawful information sharing[.]”) (emphasis added)). And, while the Court did
    not dismiss the information sharing claim against Peco Foods, Inc. (“Peco Foods”), even
    though it did dismiss the wage fixing claim against it, ECF No. 378 at 28 n.12, the allegations
    against Peco Foods were much more specific than they are as to Mountaire in the TACC. Peco


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       Plaintiffs here as well attempt to conflate their allegations as to Mountaire with

allegations as to other Defendants. They argue that the TACC “identifies, for the first time,

additional compensation information exchanges in which Mountaire and Jennie-O participated

in[.]” Opp. Br. at 21. In support, Plaintiffs point only to Jennie-O’s alleged conduct, not any

conduct of Mountaire. Id. As they did in support of their per se claim, Plaintiffs improperly

lump defendants together when they argue “Mountaire (and Jennie-O) illicitly exchanged

information on multiple occasions through various mechanisms, including . . . other surveys

directly administered by other Defendant Processors.” Id. Again this is simply false—Plaintiffs

do not, and cannot, allege that Mountaire ever participated in a wage survey directly

administered by another Defendant Processor or any other direct compensation information

exchange.

       Dismissal of the information sharing claim is appropriate for the additional reason that,

absent allegations plausibly linking Mountaire to the alleged wage-fixing conspiracy, Plaintiffs

fail to allege any anti-competitive effects arising from Mountaire’s alleged participation in Agri

Stats as is required for their rule-of-reason claim. Plaintiffs make no allegations Mountaire used

the Agri Stats data to suppress compensation, or even that Mountaire suppressed compensation at

all. They do not in fact even purport in their Opposition that the TACC contains these

allegations.

                                         CONCLUSION

       Plaintiffs’ ever-shrinking allegations against Mountaire do not assert facts specific to

Mountaire to plausibly link Mountaire to the alleged conspiracy to suppress wages. Nor do they


  Foods was “alleged to have shared compensation information ‘all the time,’ and a former Peco
  Foods employee described in present tense the fact that ‘local plants talk.’” ECF No. 378 at
  32.



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plausibly link Mountaire to an unlawful information exchange or an exchange that had any

anticompetitive effect. For these reasons, along with those asserted in its opening brief,

Mountaire respectfully requests that this Court dismiss the TACC as to Mountaire with

prejudice.


                                               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY that, on this 15th day of June, 2022, I caused Defendant Mountaire Farms
Inc.’s Redacted Reply in Support of its Motion to Dismiss the Third Amended Consolidated
Complaint to be served via ECF on all counsel of record in accordance with the Federal Rules of
Civil Procedure and the Local Rules of the United States District Court for the District of
Maryland.


                                             /s/ Stephen J. Kastenberg
                                              Stephen J. Kastenberg
